
719 S.E.2d 40 (2011)
STATE of North Carolina
v,
Donte M. HARDY.
No. 516P11.
Supreme Court of North Carolina.
December 8, 2011.
Donte M. Hardy, Raleigh, for Hardy, Donte M.
Robert C. Montgomery, Senior Deputy Attorney General, for State of North Carolina.
W. Clark Everett, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 28th of November 2011 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 8th of December 2011."
